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                       Exhibit A

                Proposed Interim Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al., 1                                   )    Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. __

                                  INTERIM ORDER
                    (A) (I) APPROVING THE DEBTORS’ PROPOSED
                 ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE
              UTILITY SERVICES, (II) PROHIBITING UTILITY PROVIDERS
             FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
     (III) APPROVING THE DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING
      ADEQUATE ASSURANCE REQUESTS, AND (B) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”), (a) (i) approving

the Debtors’ proposed adequate assurance of payment for future utility services, (ii) prohibiting

utility providers from altering, refusing, or discontinuing services, (iii) approving the debtors’

proposed procedures for resolving adequate assurance requests, and (b) granting related relief, all

as more fully set forth in the Motion; and upon the First Day Declarations; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of this proceeding and the Motion in this


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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.     The Motion is granted on an interim basis as set forth herein.

        2.     The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2023

and shall be served on: (a) the Debtors, 11500 Outlook Street, Suite 400, Overland Park, Kansas

66211, Attn.: General Counsel; (b) proposed counsel to the Debtors (i) Kirkland & Ellis LLP, 300

North    LaSalle,    Chicago,      Illinois,   60654,    Attn.:   Patrick     J.    Nash   Jr.,    P.C.

(patrick.nash@kirkland.com), David Seligman P.C. (david.seligman@kirkland.com), and

Whitney Fogelberg (whitney.fogelberg@kirkland.com); (ii) Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com);

and (iii) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705,

Wilmington, Delaware 19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns

(tcairns@pszjlaw.com),     Peter    J.   Keane   (pkeane@pszjlaw.com),        and    Edward       Corma



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(ecorma@pszjlaw.com); (c) the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov); and (d) any

statutory committee appointed in these chapter 11 cases.

       3.     The Adequate Assurance Deposit and the Debtors’ ability to pay for future utility

services in the ordinary course of business subject to the Adequate Assurance Procedures shall

constitute adequate assurance of future payment as required under section 366 of the Bankruptcy

Code for all Utility Providers that have received notice and for whose benefit Adequate Assurance

Deposits are being made.

       4.     The following Adequate Assurance Procedures are hereby approved:

              a.      The Debtors will deposit the Adequate Assurance Deposit into the Adequate
                      Assurance Account within 20 days after the Petition Date.

              b.      If an amount relating to utility services provided postpetition by any
                      Utility Provider is unpaid, and remains unpaid beyond any applicable grace
                      period, such Utility Provider may request a disbursement from the Adequate
                      Assurance Account up to the amount applicable to each such
                      Utility Provider by giving notice to: (i) Yellow Corporation, 11500
                      Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn: General
                      Counsel; (ii) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois
                      60654, Attn: Robert Jacobson; (iii) Kirkland & Ellis LLP, 601 Lexington
                      Avenue, New York, New York 10022, Attn: Allyson Smith (collectively,
                      the “Notice Parties”); (iv) proposed co-counsel to the Debtors, Pachulski
                      Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box
                      8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones, Timothy P.
                      Cairns, Peter J. Keane, and Edward Corma; and (v) the United States
                      Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware
                      19801, Attn.: Jane Leamy; (collectively, the “Adequate Assurance
                      Notice Parties”). The Debtors shall honor such request within five business
                      days after the date the request is received by the Debtors, subject to the
                      ability of the Debtors and any such requesting Utility Provider to resolve
                      any dispute regarding such request without further order of the Court. To
                      the extent any Utility Provider receives a disbursement from the Adequate
                      Assurance Account, the Debtors shall replenish the Adequate Assurance
                      Account in the amount disbursed.

              c.      Within two days after entry of the Interim Order, the Debtors will mail a
                      copy of the Motion and Interim Order to the Utility Providers.


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 d.   Any Utility Provider desiring additional assurances of payment in the form
      of deposits, prepayments, or otherwise must serve an Adequate Assurance
      Request on the Adequate Assurance Notice Parties.

 e.   Any Adequate Assurance Request must: (i) be in writing; (ii) identify the
      location for which the utility services are provided; (iii) summarize the
      Debtors’ payment history relevant to the affected account(s), including any
      security deposits; (iv) provide evidence that the Debtors have a direct
      obligation to the Utility Provider; and (v) explain why the Utility Provider
      believes the Proposed Adequate Assurance is not sufficient adequate
      assurance of future payment.

 f.   Unless a Utility Provider files and serves an Adequate Assurance Request,
      the Utility Provider shall be (i) deemed to have received “satisfactory”
      adequate assurance of payment in compliance with section 366 of the
      Bankruptcy Code and (ii) forbidden from discontinuing, altering, or
      refusing utility services to, or discriminating against, the Debtors on account
      of any unpaid prepetition charges, or requiring additional assurance of
      payment other than the Proposed Adequate Assurance.

 g.   Upon the Debtors’ receipt of an Adequate Assurance Request, the Debtors
      will have the greater of (i) fourteen days from the receipt of such Adequate
      Assurance Request and (ii) thirty days from the entry of the Interim Order
      (the “Resolution Period”) to negotiate with the Utility Provider to resolve
      the Utility Provider’s Adequate Assurance Request. The Debtors and the
      Utility Provider may, without notice to any party-in-interest or further order
      of the Court, extend the Resolution Period by such additional period as they
      shall mutually agree.

 h.   The Debtors may, without further order of the Court, resolve any Adequate
      Assurance Request by mutual agreement with a Utility Provider and the
      Debtors may, in connection with any such agreement, provide a
      Utility Provider with additional adequate assurance of payment, including,
      but not limited to, cash deposits, prepayments, or other forms of security if
      the Debtors believe that such adequate assurance is reasonable.

 i.   If the Debtors and the Utility Provider are unable to reach a consensual
      resolution within the Resolution Period, or if a Utility Provider was omitted
      from the Utility Services List and wishes to dispute that it received adequate
      assurance of future payment as required by section 366 of the Bankruptcy
      Code as provided by this Interim Order, the Debtors will request a hearing
      before the Court at the next regularly-scheduled omnibus hearing to
      determine the adequacy of assurance of payment with respect to that
      particular Utility Provider (a “Determination Hearing”) pursuant to
      section 366(c)(3) of the Bankruptcy Code.



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               j.      Pending resolution of such dispute at a Determination Hearing, the relevant
                       Utility Provider that has received notice and for whose benefit Adequate
                       Assurance Payments are being made shall be prohibited from altering,
                       refusing, or discontinuing service to the Debtors on account of: (i) unpaid
                       charges for prepetition services; (ii) a pending Adequate Assurance
                       Request; or (iii) any objections filed in response to the Proposed Adequate
                       Assurance.

       5.      The Utility Providers that have received notice and for whose benefit Adequate

Assurance Deposits are being made are prohibited from requiring additional adequate assurance

of payment other than pursuant to the Adequate Assurance Procedures.

       6.      The Adequate Assurance Deposit shall be placed into a segregated account for the

benefit of each Utility Provider. Notwithstanding anything to the contrary in any other order of

this Court, including any order approving the debtor in possession financing in these chapter 11

cases, the interests of any party, including but not limited to the Debtors’ post-petition or pre-

petition lenders, in, or lien on, the Adequate Assurance Deposit shall be subordinate to the Utility

Providers’ interest in any Adequate Assurance Deposit until such time as the Adequate Assurance

Deposit is returned to the Debtors or as otherwise ordered by the Court.

       7.      The Debtors’ service of the Motion upon the Utility Services List shall not

constitute an admission or concession that any such entity is a “utility” within the meaning of

section 366 of the Bankruptcy Code, and the Debtors reserve all rights and defenses with respect

thereto.

       8.      To the extent the Debtors identify new or additional Utility Providers, the Debtors

are authorized, but not directed, to add such parties to the Utility Services List; provided, however,

that the Debtors shall provide notice of any such addition to the Adequate Assurance Notice

Parties. The Debtors shall (a) promptly provide a copy of this Interim Order or the Final Order,

as applicable, to a subsequently identified Utility Provider and (b) increase the Adequate

Assurance Deposit by an amount equal to approximately 50 percent of the Debtors’ estimated

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aggregate monthly utility expense for such subsequently identified Utility Provider subsequent to

the Petition Date. The terms of this Interim Order and the Adequate Assurance Procedures shall

apply to any subsequently identified Utility Provider upon such Utility Provider being added to

the Utility Services List and being served with this Interim Order.

       9.      If the Debtors seek to remove a Utility Provider from the Utility Services List or

terminate the services of any Utility Provider during the course of these chapter 11 cases, without

the need for further order of this Court or notice to any parties except as otherwise provided herein,

the Debtors shall be authorized to decrease the amount of the Utility Deposit for any Utility

Provider that the Debtors seek to remove from the Utility Provider List, or to terminate, by

withdrawing from the Utility Deposit Account the amount deposited with respect to such Utility

Provider upon either (a) obtaining the affected Utility Provider’s consent to do so or (b) filing with

this Court and serving upon the affected Utility Provider a notice of the Debtors’ intent to reduce

the Utility Deposit within fourteen days thereof and receiving no response thereto. If an objection

is received, the Debtors shall request a hearing before this Court at the next omnibus hearing date,

or such other date that the Debtors and the Utility Provider may agree. To the extent that there is

any dispute as to the postpetition amounts owed to a Utility Provider, such Utility Provider shall

not be removed from the Utility Services List, and no funds shall be removed from the Adequate

Assurance Deposit, until such dispute has been resolved. Upon the effective date of a plan in these

chapter 11 cases, the Adequate Assurance Deposit shall be returned to the Debtors, less any amount

owed on account of unpaid, postpetition utility services, by no later than seven business days

following the date upon which the plan becomes effective.

       10.     Nothing contained in the Motion or this Interim Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Interim



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Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount,

validity or priority of, or basis for any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Interim

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy Code

or any other applicable law.

       11.     Notwithstanding anything to the contrary in this Interim Order, any payment made,

or authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

       12.     The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

       13.     Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due prior to the date of the Final Hearing.

       14.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       15.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.



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       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.

       17.     The Debtors are authorized, but not directed, to take all actions necessary to

effectuate the relief granted in this Interim Order in accordance with the Motion.

       18.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




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